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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                                June 27, 2018
                  IN THE UNITED STATES DISTRICT COURT
                                                                             David J. Bradley, Clerk
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
V.                                         §                NO. 4:17-CR-431
                                           §
STEPHEN LYNCH                              §

          ORDER ON DEFENDANT’S UNOPPOSED MOTION
 FOR EXTENSION OF THE PRESENTENCE INVESTIGATION DISCLOSURE

      Defendant filed an Unopposed Motion for Extension of the Presentence

Investigation Disclosure. United States Probation is unopposed to this motion. The

motion is hereby GRANTED. The order is amended to provide for the following schedule.


Initial Presentence Investigation Report must be disclosed by August 1, 2018. Counsel must

file objections by: August 15, 2018. Addendum is due : August 29, 2018. Sentencing will be

held: September 11, 2018, at 2:00 p.m.

      SIGNED at Houston, Texas, on June 27, 2018.




                                                         NAN Y F. ATLAS
                                                SENIOR UNI   STATES DISTRICT JUDGE
